Case 1:03-md-01570-GBD-SN Document 9250-8 Filed 07/31/23 Page 1 of 3




                           EXHIBIT 9
     Case 1:03-md-01570-GBD-SN Document 9250-8 Filed 07/31/23 Page 2 of 3

                                                                                                                   Page 1




                    ex sNexis
                                                  1 of 2 DOCUMENTS

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                                                 Middle East Newsfile

                                              September 18, 2001 Tuesday

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HEADLINE: Another Saudi 'hijacker' turns up in Tunis

BYLINE: By Molouk Y. Ba-Isa & Saud Al-Towaim

                                                     ARAB NEWS

BODY:

     JEDDAH--Another "hijacker" from the FBI's list has been found. Captain Saeed Hussain Al-Ghamdi, a Saudi
citizen working for Tunis Air, expressed his worry after seeing his picture on CNN as a suspect in the crash of United
Airlines flight 93 which went down in Stony Creek Township, Pa.

    Al-Ghamdi, is a co-captain on Tunis Air, along with 22 other Saudi pilots who work for the company. He was in
Paris when he saw the CNN report.

    He confirmed to Asharq Al-Awsat by telephone from Tunis that he studied in Florida in from 1998 to 1999 and
then came back to work for Saudi Arabian Airlines. In August 2000 he returned to the US for further training. He was
seconded to Tunis Air ten months ago.

     Al-Ghamdi suspected that his picture could have been taken from his file in the aviation school in Florida. He told
the Saudi Embassy in Tunis his whereabouts to make sure that they would come to his aid if he was arrested for any
reason. Now Al-Ghamdi is reluctant to fly fearing he might face difficulties similar to that suffered by Saudia pilot
Muhammad Bukhari who was detained in Manila.

    The local media are working overtime to gather details on the alleged hijackers. Many of the published "facts"
could be little more than gossip but the local community is anxious for any information. There is enormous skepticism
concerning the validity of the FBI's list of suspected hijackers.

     Numerous local commentators have pointed out that there are thousands of individuals named Alghamdi and
Alshehri in Saudi Arabia. "In Saudi Arabia, the names Alghamdi and Alshehri are as common as the name Smith in the
United States," said one joumalist.Asharq Al-Awsat stated that in 1995 in Riyadh, a man named Abdulaziz Alomari,
reported that his passport had been lost in the United States. And Al-Watan published information on several
individuals named on the FBI's list.

   According to Al-Watan, Wail Alshehri and Waleed M. Alshehri are the sons of Muhammad Ali Asgley Alshehri, a
well-known businessman in Khamis Mushayt. They come from a large family of 11 boys and one girl. Muhammad




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      Case 1:03-md-01570-GBD-SN Document 9250-8 Filed 07/31/23 Page 3 of 3

                                                                                                                  Page 2
             Another Saudi 'hijacker' turns up in Tunis Middle East Newsfile September 18, 2001 Tuesday



Alshehri stated that he hopes the investigation will prove that his sons were not involved in the hijackings.

     He refuted information circulating in the Western media about his son Wail having a degree in aeronautics.

    "My son Wail was 25 years old and had a BA in physical education from the Abha Teacher's College," said
Alshehri. "He was mentally ill and had gone to numerous clerics for assistance in overcoming this instability. He had
asked the school, where he taught, for a 6-month leave to go to Madinah. My other son Waleed was 21 years old and
also studying at the Teacher's College."

    Both of Alshehri's sons disappeared in December last year and have not been heard from since. According to
sources close to the family, both sons became very religious nine months prior to their disappearance and had spoken
often ofjoining the Mujahedeen in Chechnya. They were hoping for martyrdom. Neither ever discussed politics nor
Osama Bin Laden. Neither man knew anything about flying and both spoke very limited English. The Alshehri brothers
had UAE driver's licenses and it is believed that they flew to the United States directly from the UAE.

     Ahmad Alghamdi is the son ofIbrahim Almussallam Alghamdi. The man was 20 years old and lived in Beljuraishi
in the Baha Region. He was very religious since his youth and was active in the propagation ofIslam.

    A quiet teenager with few friends, Ahmad was the youngest of three brothers and four sisters. After finishing high
school, he did not marry. Instead, he joined Umm Al-Qura University in Makkah and studied engineering. He never
studied aviation. He stayed at the university just two months and then left without telling his family. They later
discovered that he had gone to fight in Chechnya.

    Ahmad Alghamdi's mother does not believe that her son could have participated in such a horrible attack. Ahmad
called his mother two months ago and never mentioned anything about going to the United States. He visited Saudi
Arabia during last Ramadan (December).

     Ahmad Alhaznawi was 35 years old. He was from Beljuraishi where his father is the imam of a mosque. His family
has not heard from him since he went to join the Mujahedeen in Chechnya.

    All that is known about another alleged hijacker, Hani Hanjour is that he had a Saudi driver's license.

     It is claimed that Fayez Ahmad is the son of Muhammad Fayez Alshehri, a school principal. Muhammad Alshehri
said that two years ago his son told him that he was going to join the International Islamic Relief Organization. Since
that time the only contact the family has had with him is one phone call that was received by his mother after Eid
Al-Adha,

     Hamza Saleh Alghamdi was 20 years old. He graduated from a Qur'an recitation high school. He left the Kingdom
eight months ago to join the jihad in Chechnya against his family's wishes. He did telephone several times from abroad,
but his family is not sure where he was at the time. In one call he told them that he was active in Chechnya. Four
months ago he called and asked his parents to forgive him and pray for him.

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